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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)
     KIRKLAND & ELLIS LLP                                                       Order Filed on May 24, 2023
     KIRKLAND & ELLIS INTERNATIONAL LLP                                         by Clerk
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     Emily E. Geier, P.C. (Admitted pro hac vice)                               District of New Jersey
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     Proposed Co-Counsel for Debtors and Debtors in Possession

     In re:                                                            Chapter 11

     BED BATH & BEYOND INC., et al.,                                   Case No. 23-13359 (VFP)

               Debtors.1                                               (Jointly Administered)

     ORDER SHORTENING TIME PERIOD FOR NOTICE AND HEARING DATE




              The relief set forth on the following page is hereby ORDERED.



 DATED: May 24, 2023



 1
        The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
        Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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 (Page 2)
 Debtors:                   BED BATH & BEYOND INC., et al.
 Case No.                   23-13359 (VFP)
 Caption of Order:          ORDER SHORTENING TIME PERIOD FOR NOTICE


Upon review of the Debtors’ Application for Order Shortening Time (the “Application”),2 of the

above-captioned debtors and debtors in possession (collectively, the “Debtors”) for entryof an

order (this “Order”) requesting that the time period for the Debtors’ Motion for Entry of an

Order Pursuant to Federal Rule of Bankruptcy Procedure 9019 and Section 365 Approving the

Lease Termination Agreement with 31535 Southfield Road, LLC (the “Motion”), be shortened

pursuant to Fed. R. Bankr. P. 9006(c)(1),




         IT IS HEREBY ORDERED THAT:

                  1.       A hearing will be conducted on the Motion on May 31, 2023 at 2:30 p.m.

(E.T.), before the Honorable Vincent F. Papalia, Martin Luther King Jr. Federal Building, 50

Walnut Street, Courtroom 3B, Newark, New Jersey 07102.

                  2.       The Debtors must serve a copy of this Order, and all related documents to

all parties in interest by either regular mail or email, as applicable.

                  2a.      A Certificate of Service must be filed prior to the hearing date.

                  3.                                     1 days of the date of this Order.
                           Service must be made within _____

                  4.       Notice by telephone is not required.

                  5.       Any objections to the Motion should be filed and served on all
                           parties in interest by electronic or overnight mail by May 30, 2023.

                  6.       Information to participate in the hearing via zoom can be found at

www.njb.uscourts.gov/bbb#zoom




 2
     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
